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U.S. District Court

Alabama Middle - Montgomery

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Rashad Hubbard
207 Azalea Park Lane
Montgomery, AL 36106

Rept. No: 5993 Trans. Date: Sep 24, 2024 3:20PM Cashier ID: #HR
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Comments: Hubbard v. F.N Cann& Associates, Inc. 2:24-cv-00597-RAH-CWB

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
will be charged for a returned check.
